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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


In re CASSAVA SCIENCES, INC.              )   Originating No. 1:21-cv-00751-DAE (W.D.
SECURITIES LITIGATION                     )   Tex.)
                                          )
                                          )   CLASS ACTION
This Document Relates To:                 )
                                          )   [REDACTED] MEMORANDUM OF
         ALL ACTIONS.                     )   LAW IN SUPPORT OF PLAINTIFFS’
                                          )   MOTION   TO     COMPEL   THE
                                              PRODUCTION OF DOCUMENTS




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         Pursuant to Rules 37 and 45 of the Federal Rules of Civil Procedure, lead plaintiff

Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar Rao (collectively,

“Plaintiffs”) respectfully request an order compelling compliance with their document subpoena

served on non-party Quanterix Corp. (“Quanterix” or the “Company”). 1

I.       INTRODUCTION

         This discovery dispute2 concerns dozens of documents being withheld by Quanterix despite their

centrality to a securities fraud case against Cassava Sciences, Inc. (“Cassava”) and three of its

executives (collectively, “Cassava Defendants” 3) pending in the Western District of Texas.

         Plaintiffs are putative representatives for a class of Cassava investors alleging that the

Cassava Defendants misled the market about simufilam, an experimental Alzheimer’s drug, by holding

it out as a revolutionary treatment while concealing systematic data manipulation, significant anomalies,

and intractable conflicts of interest that tainted Cassava’s research. The allegations include, among other

things, that Cassava manipulated Phase 2b clinical trial data presented at an Alzheimer’s Association

International Conference (“AAIC”). Prominent scientists have since exposed the Cassava Defendants’

fraud, and multiple government entities have opened criminal and civil investigations, including the U.S.



1
        Plaintiffs served the original subpoena on June 15, 2023, identifying the District of
Delaware as the place for compliance. Pursuant to subsequent agreement of the parties, Plaintiffs
served an identical subpoena on Quanterix’s counsel on December 11, 2023, amended only to
specify compliance is required in this District, where Quanterix is located. See Exhibit (“Ex.”) A.
All “Ex.__” references are to the Declaration of Kevin A. Lavelle in Support of Memorandum of
Law in Support of Plaintiffs’ Motion to Compel the Production of Documents, filed concurrently
herewith (“Lavelle Decl.”).
2
        Pursuant to Local Rules 7.1 and 37.1, counsel for Plaintiffs met and conferred with counsel
for Quanterix on July 27, 2023, and August 9, 2023, and attempted in good faith to resolve this
issue, but were unable to do so. See Lavelle Decl.
3
       The Cassava Defendants are Cassava, Cassava’s Founder and CEO, Remi Barbier; Senior
VP of Neuroscience and Barbier’s wife, Lindsay Burns; and CFO, Eric Schoen.

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Department of Justice (“DOJ”) and U.S. Securities & Exchange Commission (“SEC”). Scientific

journals have also retracted underlying research papers related to simufilam authored by defendant Burns

and Cassava’s scientific collaborator, Hoau-Yan Wang.

         Cassava’s knee-jerk reaction to the unraveling of their scheme was to launch a counter-attack

and deflect to others, including non-party Quanterix. On August 25, 2021, the morning after serious

allegations of scientific misconduct emerged by way of a “Citizen Petition” filed with the FDA, Cassava

issued a public statement denying wrongdoing and calling the allegations “fiction.” ¶¶14, 316-317.4

Chief among these “fictions,” Cassava claimed, was that: “Biomarker data is generated by Cassava

Sciences or its science collaborators and therefore are falsified.” ¶317. Instead, according to Cassava,

the “fact” was that the Cassava’s Phase 2b plasma p-tau data alleged to have been manipulated “was

generated by [Quanterix], an independent company, and presented at the recent Alzheimer’s Association

International Conference[].”5 Id. (alterations in original).

         But, as Plaintiffs allege, Cassava’s statements were false and misleading. Quanterix did not

prepare the AAIC data or charts alleged to have been manipulated. Two days later, on August 27, 2021,

Quanterix issued its own press release clarifying that Quanterix “did not interpret the test results or

prepare the data charts presented by Cassava” in the AAIC presentation. ¶¶16, 323. Following

Quanterix’s statement, Cassava’s share price dropped significantly. ¶¶17, 499.

         The documents in dispute are communications and related documents from a short window

of time surrounding August 26 and 27, 2021 that concern Cassava’s public statements and

Quanterix’s response. While Quanterix produced a number of documents in response to the



4
        All “¶__” and “¶¶__” references are to Plaintiffs’ Consolidated Complaint for Violations of the
Federal Securities Laws, filed in the underlying action on August 18, 2022 (“Complaint”). See Ex. B.
5
         Unless otherwise noted, emphasis is added and internal citations are omitted throughout.

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subpoena (most of which had already been

          ), it continues to improperly withhold 68 documents in whole or part based on the attorney-

client privilege and/or work-product doctrine. As explained below, however, the documents are

not privileged because they concern Public Relations (“PR”) strategy, rather than legal advice, and

were all disclosed to third-party PR consultants. Nor are the documents protected work product.

The documents consist of materials prepared in the ordinary course of business and intended for

public disclosure, not trial preparation. See United States v. Textron Inc. & Subsidiaries, 577 F.3d

21, 29-30 (1st Cir. 2009) (“Materials assembled in the ordinary course of business . . . or for other

nonlitigation purposes” are not protected work product.). And the documents either pre-date any

event that could have reasonably caused anticipated litigation or they are otherwise unrelated to

litigation.

         Accordingly, Plaintiffs respectfully request that the Court issue an order compelling

Quanterix to produce the 68 withheld documents, or at a minimum, provide them to the Court for

in camera review.

II.      BACKGROUND

         A.         Relevant Allegations in the Underlying Action

         Plaintiffs allege that the Cassava Defendants misled the market concerning Cassava’s

primary drug candidate, simufilam, thereby inflating Cassava’s stock price during the putative

class period. Among other allegations, Plaintiffs claim the Cassava Defendants concealed that the

research justifying simufilam’s commercial development was marred by extensive data

manipulation, significant anomalies, and undisclosed conflicts of interest. ¶¶1-44.

         The Cassava Defendants’ scheme began to unravel, however, when on August 24, 2021, a

“Citizen Petition” filed with the FDA became public, revealing “grave concerns about the quality


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and integrity of the laboratory-based studies surrounding” simufilam. ¶¶12-13. These revelations

included that Cassava had purposefully removed data points from a July 2021 AAIC presentation

in order to make the results appear far more significant than they actually were. ¶¶218-222.

Following the release of the Citizen Petition, numerous government agencies, including the SEC,

Department of Health and Human Services, and DOJ also opened civil and criminal investigations

into Cassava. ¶¶28, 44.

         Cassava, however, continued to obfuscate the truth, issuing a press release on August 25,

2021, labeling various statements from the Citizen Petition as “fiction” before setting out the

purported “facts,” according to Cassava. ¶¶14, 316-317. In particular, regarding the AAIC

presentation, Cassava stated that its “plasma p-tau data from Alzheimer’s patients was generated

by [Quanterix], an independent company, and presented at the recent Alzheimer’s Association

International Conference[].” ¶¶316-317 (alterations in original). But contrary to the Cassava

Defendants’ claims, Quanterix had no hand in Cassava’s doctored AAIC presentation or the data

contained therein. What Cassava claimed as fiction was actually fact – and vice versa.

         Two days later, on August 27, Quanterix issued its own press release clarifying that, while

it did generate the raw data, Quanterix “did not interpret the test results or prepare the data charts

presented by Cassava” in the AAIC presentation. ¶¶323-324. On this news, Cassava’s share price

fell 17.66%, on unusually heavy trading volume. ¶¶17, 499.

         B.         Procedural History of the Underlying Action

         The Complaint was filed on August 18, 2022. On May 11, 2023, the district court denied

the Cassava Defendants’ motion to dismiss Plaintiffs’ claims, upholding, among other allegations,

those regarding the Cassava Defendants’ false and misleading August 25, 2021 press release




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concerning Quanterix’s role in the AAIC presentation. Ex. C at 8, 18. Discovery is ongoing in

the underlying action, and Plaintiffs plan to start taking fact depositions in Spring 2024.

         C.         The Subpoena and Quanterix’s Response

         On June 15, 2023, Plaintiffs served Quanterix with a document subpoena. See Ex. D.6 The

subpoena sought documents relevant to the underlying action, including: documents related to

Quanterix’s August 27 press release, AAIC poster and the scientific results discussed therein.

Ex. A, Request Nos. 3-5.

         After providing responses and objections, Quanterix produced 836 documents on July 11,

2023, and July 20, 2023, the overwhelming majority of which had been previously

                                         . Quanterix also provided a privilege log identifying 128

responsive documents for a short window of time surrounding the date of Quanterix’s August 27,

2021 press release (between August 26 and September 4, 2021) related to Cassava.

         Plaintiffs then engaged in a thorough meet and confer process to evaluate Quanterix’s

privilege and work-product assertions, including meet and confers on July 27 and August 9, 2023.

See Ex. E; Lavelle Decl., ¶¶2-3. After Plaintiffs’ counsel questioned a number of entries on

Quanterix’s privilege log during the July 27, 2023 meet and confer, on July 28, 2023, Quanterix

produced eight (8) documents it had previously withheld or redacted and a revised privilege log.

Lavelle Decl., ¶3. These documents were plainly not privileged and included: (i) communications

between PR firm PAN Communications (or “Pan Comm”) and a Being Patient reporter and Craig

Drill Capital stock analyst (Ex. G; Ex. H); (ii) meeting invitations (Ex. I; Ex. J ); and (iii) redacted

business-related communications with no attorney included (Ex. K ). The fact that Quanterix



6
        Quanterix does not object to this motion being brought in the United States District Court
for the District of Massachusetts, where the company is headquartered.

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Therefore, Plaintiffs are forced to bring this motion to compel to obtain an order compelling the

production of the remaining 68 documents that Quanterix continues to improperly withhold.

III.     LEGAL STANDARDS

         The Federal Rules of Civil Procedure are broad and permit discovery of “any nonprivileged

matter that is relevant to any party’s claim or defense and proportional to the needs of the case.”

Fed. R. Civ. P. 26(b)(1). “Where a non-party possesses potentially relevant information, the party

seeking discovery may obtain a subpoena for the evidence pursuant to Rule 45.” Gabriel v.

Superstation Media, Inc., 2014 WL 12796266, at *2 (D. Mass. Sept. 5, 2014).

         “‘Because it stands in the way of [the] right to every man’s evidence, the privilege applies

only to the extent necessary to achieve its underlying goal of ensuring effective representation

through open communication between lawyer and client.’” Woods Hole Oceanographic Inst. v.

ATS Specialized, Inc., 2022 WL 18028105, at *2 (D. Mass. May 17, 2022) (alteration in original)

(quoting In re Grand Jury Subpoena (Custodian of Records, Newparent, Inc.), 274 F.3d 563, 571

(1st Cir. 2001)). The “[o]ne claiming privilege, ‘bears the burden of establishing that . . . [the

privilege] applies . . . and that it has not been waived.’” Id. (ellipses and second alteration in

original) (quoting In re Keeper of Records (Grand Jury Subpoena Addressed to XYZ Corp.), 348

F.3d 16, 22 (1st Cir. 2003)). “‘In discharging its burden, the proponent [of an asserted privilege]

must adduce competent evidence in support of its claims.’” Id. at *3 (alteration in original).

         It is well established that the attorney-client privilege “protects ‘only those

communications that are confidential and are made for the purpose of seeking or receiving legal


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advice.’” United States ex rel. Wollman v. Mass. Gen. Hosp., Inc., 475 F. Supp. 3d 45, 63 (D.

Mass. 2020) (quoting Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 24 (1st Cir. 2011)).

Importantly, “when otherwise privileged communications are disclosed to a third party, the

disclosure destroys the confidentiality upon which the privilege is premised.” Grand Jury

Subpoena Addressed to XYZ Corp., 348 F.3d at 22.

         Similarly, “[t]he First Circuit has taken a narrow view of the attorney work product

doctrine.” Wollman, 475 F. Supp. 3d at 61. Work-product protection only applies to “‘materials

prepared for use in litigation,’” meaning that they must not be “‘prepared for some purpose other

than litigation.’” Id. (quoting Textron, 577 F.3d at 29). Work product protection is not triggered

simply because “the subject matter of a document relates to a subject that might conceivably be

litigated.” Textron, 577 F.3d at 29 (emphasis in original). Thus, materials prepared “in the

ordinary course of business” or for “other nonlitigation purposes are not” protected by work

product protection even if the “materials were prepared by lawyers or represent legal thinking.”

Id. at 29-30.

         Quanterix “bears the burden of proving not only that the attorney-client privilege and/or

work product doctrines apply to the documents listed in the privilege log but also that any privilege

has not been waived.” Woods Hole Oceanographic Inst., 2022 WL 18028105, at *3. “‘Where the

proponent fails to adduce sufficient facts to permit the court to conclude with reasonable certainty

that the privilege applies, its burden is not met.’” Id.




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overruled, 2021 WL 4272654 (D.N.J. Sept. 21, 2021) (privilege did not apply or was waived for

PR firm communications reflecting ordinary PR services such as “‘how to respond to media

inquiries, updates on relevant media coverage, preparing testimony before Congress’” and

providing “advice on how to ‘spin’ circumstances in the manner most favorable to Valeant”).

         The nonprivileged nature of these documents is not altered by the fact that attorneys may

have been included on certain communications. For example, in In re Signet Jewelers Ltd. Sec.

Litig., the court compelled the production of emails between a PR firm (Ogilvy) and the defendant

Signet, which copied in-house counsel, because they “concern[ed] how to respond to a media

inquiry from NPR,” rather than “communications that were sent for the purpose of obtaining or

providing legal advice.”     332 F.R.D. 131, 136 (S.D.N.Y. 2019), aff’d, 2019 WL 5558081

(S.D.N.Y. Oct. 23, 2019). Here, too, the documents concern a media strategy, not legal advice.

         Further, the fact that some of the PR Consultants were retained by Quanterix’s in-house

counsel does not render their communications privileged. See, e.g., id. at 133, 136; Valeant, 2021

WL 3140050, at *11 (communications with PR firm retained by outside law firm were not

privileged even though the retention letter explicitly mentioned “assisting” legal counsel “‘with

expert public relations services and advice’ so as to provide ‘more informed and valuable legal

advice’ as to the ‘legal issues’ presented by this litigation”).

         In Valeant, for example, the court did not find the communications between a PR

consultant and outside counsel privileged even where the engagement letter expressly said the

communications were “‘made solely for the purpose of assisting Covington in providing legal

advice to Valeant’”; instead, the court looked past the language of the agreement and determined

that the actual “services consisted of general public relations assistance.” 2021 WL 3140050, at

*2, *11, *13-*14. Here, Quanterix’s claim is even more attenuated as there is no such language

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in the retainers that suggests the PR Consultants had any role in providing legal advice to the

company, and in Ms. Creighton’s case, her NDA specifically stated its purpose was “business

discussions.” Ex. E at 2.

         Finally, even if an attorney drafted some of the documents, they remain non-privileged

because they were for a PR exercise. See, e.g., Burton v. R.J. Reynolds Tobacco Co., 200 F.R.D.

661, 669 (D. Kan. 2001) (Documents prepared by attorneys for PR purposes are not privileged

because “while these documents were all written or prepared by RJR attorneys (either inside or

outside counsel), the documents make no reference to legal issues or the rendering of legal

advice.”). For all these reasons, the attorney-client privilege did not attach to these documents.

                    2.   Quanterix Waived Any Attorney-Client Privilege through
                         Disclosure to Third-Parties

         Further, even if the privilege theoretically attached at some point in time, any such privilege

has been waived by disclosure to third parties. It has long been held that “[g]enerally, disclosing

attorney-client communications to a third party undermines the privilege.” Cavallaro v. United

States, 284 F.3d 236, 246-47 (1st Cir. 2002). Here, each of the 46 documents Quanterix withheld

on the basis of attorney-client privilege have been disclosed to one or more third-party PR

Consultant; thus, any privilege has been waived. See Ex. V.

         Quanterix may nevertheless argue that the disclosure was not waived because the third

parties were consultants. But courts have repeatedly held otherwise in the context of PR firms.

See, e.g., Signet Jewelers, 332 F.R.D. at 137 (“The presence of these third parties [PR firms] on

the communications acts as a waiver of the privilege.”); Wollman, 475 F. Supp. 3d at 66 (same);

see also In re Prograf Antitrust Litig., 2013 WL 1868227, at *2 (D. Mass. May 3, 2013) (“[T]o

the extent that any drafts of the petition were shared with outside parties, such as public relations



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firms, the privilege is deemed waived with respect to those particular drafts.”); also Valeant, 2021

WL 3140050, at *11, *13-*14 (finding no privilege applied).

         Moreover, to overcome waiver, Quanterix would have to prove that, not only the PR

Consultants were “‘necessary, or at least highly useful,’” to its lawyer’s provision of legal advice

but also that the communication itself “‘must be made “for the purpose of obtaining legal advice

from the lawyer.”’” Wollman, 475 F. Supp. 3d at 66. “The fact that ‘an attorney’s ability to

represent a client is merely improved by the assistance of the third party’ is not enough to avoid

the waiver of the privilege.” Id.

         As shown above, the purpose of the communications here were for PR strategy, not legal

advice, and the PR Consultants were not “essential to transmit communications between an

attorney and a client (such as an interpreter or an accountant).” Valeant, 2021 WL 3140050, at *8.

See Wollman, 475 F. Supp. 3d at 67 (rejecting application of “translator” function in PR context).

Indeed, “courts have generally rejected application of the ‘translator’ exception in the context of

outside marketing firms.” Church & Dwight Co. Inc. v. SPD Swiss Precision Diagnostics, GmbH,

2014 WL 7238354, at *2 (S.D.N.Y. Dec. 19, 2014). As courts have aptly observed, providing

“‘[g]eneral business advice . . . is a paradigmatic example of what will not be protected . . . because

it rarely, if ever, presents complex matters that are beyond the reach of an attorney and warrant the

involvement of a third party.’” Gattineri v. Wynn MA, LLC, 2021 WL 8649392, at *2 (D. Mass.

Aug. 25, 2021). In such situations, “the communication of privileged information to the PR firm

waives the attorney-client privilege.” Wollman, 475 F. Supp. 3d at 67; see also Signet Jewelers,

332 F.R.D. at 137 (“The presence of these third parties [PR firms] on the communications acts as

a waiver of the privilege.”).




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         The inexorable conclusion that waiver occurred is bolstered by the fact that nowhere in the

PR Consultants’ retention agreements or NDAs was any mention of providing or assisting with

legal advice. See §II.C., supra. This is also consistent with what is known about the documents,

as sampled above. See IV.A.1., supra. The bottom-line is that Quanterix has provided nothing to

suggest that the PR Consultants, individually or collectively, were indispensable to their legal

advice and thus disclosure to these third parties waived any privilege. See Gattineri, 2021 WL

8649392, at *2 (finding waiver of attorney-client privilege where proponent of privilege failed to

“present[] any argument or evidence to suggest that [third-party business consultant] was

indispensable or served a specialized role in communicating with them or [outside counsel]”). As

in Signet Jewelers, “[t]he PR firms here were not called upon to perform a specific litigation task

that the attorneys needed to accomplish in order to advance their litigation goals. Rather, the PR

firms were involved in [PR] activities aimed at burnishing [Quanterix’s] image.” 332 F.R.D. at

136.

         Quanterix may rely on In Re Grand Jury Subpoenas Dated March 24, 2003, 265 F. Supp.

2d 321 (S.D.N.Y. 2003) to suggest that a waiver has not occurred, but reliance on that case would

be misplaced. In Re Grand Jury Subpoenas involved a public relations firm hired to serve a unique

and narrow legal goal that is not present here – to help a client then under a high profile criminal

investigation avoid indictment. Here Quanterix has not identified any specific legal strategy that

required the PR Consultants involvement, nor were the PR Consultants retained to respond to a

high profile criminal investigation. See Ex. E at 1 (PR Consultants retained to respond to Cassava

press release). Further, as courts have found, In Re Grand Jury Subpoenas is narrowly construed

and limited to the facts of that case. See Pearlstein v. BlackBerry Ltd., 2019 WL 1259382, at *6

(S.D.N.Y. Mar. 19, 2019) (“In re Grand Jury Subpoenas Dated March 24, 2003 is narrowly

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construed.”) (collecting cases); id. (“‘The reach of [In re Grand Jury Subpoenas Dated March 24,

2003 is] limited by its context . . . .’”) (alteration in original) (quoting Ravenell v. Avis Budget

Grp., Inc., 2012 WL 1150450, at *3 (E.D.N.Y. Apr. 5, 2012)); id. (“interpreting In re Grand Jury

Subpoenas Dated March 24, 2003 as having a ‘very narrow holding’ and applicable only in ‘cases

such as . . . high profile grand jury investigation[s]’”) (quoting In re Chevron Corp., 749 F. Supp.

2d 170, 184 n.64 (S.D.N.Y. 2010), aff'd sub nom. Lago Agrio Plaintiffs v. Chevron Corp., 409 F.

App'x 393 (2d Cir. 2010)). “[W]hen a public relations consultant has performed nothing other

than standard public relations services, the normal rule applies and disclosure of privileged

communications to the consultant will result in a waiver.” BlackBerry, 2019 WL 1259382, at *6.

See Signet Jewelers, 332 F.R.D. at 136 (“The Court finds that Judge Kaplan’s [In re Grand Jury

Subpoenas] decision is not applicable to the facts here.”).

         And beyond finding the presence of PR firms on communications with counsel “act[ed] as

a waiver of the privilege,” the court in Signet Jewelers added, “[n]or does it present a situation

where the PR firm employees included in the communications were . . . ‘the functional equivalent’

of a Signet employee.” Id. at 137. Here, Quanterix has not argued that any of the PR Consultants,

let alone all of them, were the functional equivalent of in-house Quanterix employees. Nor has

this doctrine “been adopted by the First Circuit or applied in the District of Massachusetts.”

Wollman, 475 F. Supp. 3d at 68. In any event, the PR Consultants “do[] not meet the criteria . . .

to be considered the ‘functional equivalent’ of a[] [Quanterix] employee,” as they were “hired for

specific projects, w[ere] consultant[s] to and not . . . agent[s] of [Quanterix], worked out of [their]

own offices, and worked for clients other than [Quanterix].” Id. See also Church & Dwight Co.,

2014 WL 7238354 at *3 (marketing firm hired to assist with launch of product not the functional

equivalent of an employee); Steinfeld v. IMS Health Inc., 2011 WL 6179505, at *1-4 (S.D.N.Y.

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Dec. 9, 2011) (outside consultant retained to advise a corporation about executive compensation

and benefits plans was not functional employee).

         In sum, nothing in the record suggests the many PR Consultants’ services were essential to

Quanterix’s or its outside counsel’s provision of legal advice to the company. Neither Quanterix

nor the Company’s outside attorneys at Mintz Levin required any of the PR Consultants to

“translate” information that the lawyers could not otherwise understand. Any privilege that may

have existed has, thus, been waived.

         B.         Quanterix Has Not, and Cannot, Carry Its Heavy Burden to Prove
                    that the Withheld Documents Are Work Product Protected

                    1.    The Documents Were Generated for a PR Campaign

         Quanterix also improperly asserts work product protection over 29 documents disclosed to

the PR Consultants on the basis that there was an immediate “anticipation of litigation.” Ex. E at

4. This explanation is insufficient to carry Quanterix’s burden to demonstrate that the narrowly

applied work product doctrine applies. See Wollman, 475 F. Supp. 3d at 61 (“The First Circuit has

taken a narrow view of the attorney work product doctrine . . . .”); see also F.D.I.C. v. Ogden

Corp., 202 F.3d 454, 460 (1st Cir. 2000)(“[T]he burden to establish an applicable privilege rests

with the party resisting discovery.”).

         Courts have recognized that “the focus of work product protection has been on materials

prepared for use in litigation,” whether underway or anticipated. Textron, 577 F.3d at 29. This

means that materials “prepared for some purpose other than litigation” do not qualify for work

product protection. Id. “It is not enough to trigger work product protection that the subject matter

of a document relates to a subject that might conceivably be litigated.” Wollman, 475 F. Supp. 3d

at 61. None of the documents at issue here was prepared in anticipation of or for use in litigation.



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         First, as explained above, Quanterix created the withheld documents in the ordinary course

of its business for the purpose of generating a PR strategy for its August 27, 2021 press release;

none of the documents was created for use in litigation or even relate to litigation on their face.



                                                     Such “‘[m]aterials assembled in the ordinary

course of business . . . or for other nonlitigation purposes are not under the qualified immunity

provided by’” the work product doctrine, and it is not enough that “the materials were prepared

by lawyers or represent legal thinking.” Textron, 577 F.3d at 29-30 (alteration in original). See

Valeant, 2021 WL 3140050, at *8 (conducting media campaign with PR consultant is not a

litigation strategy).

         Even if the PR Consultants “provided public relations advice or documents bearing upon

potential litigation over the citizen petition,” which they did not, “such materials fall outside the

scope of work-product protection, which is intended ‘to provide a zone of privacy for strategizing

about the conduct of litigation itself, not for strategizing about the effects of the litigation on the

client’s customers, the media, or on the public generally.’” Prograf, 2013 WL 1868227, at *3; see

Wollman, 475 F. Supp. 3d at 62 (investigative report created by outside counsel was not prepared

for “use in possible litigation” and thus not work product) (emphasis in original).

                    2.   The Documents Were Not Created in Anticipation of Litigation
         Second, Quanterix is unable to prove that their purported subjective belief that the

documents were prepared in anticipation of litigation was “‘objectively reasonable.’” Id. at 61-

62. The materials sought were not created in “anticipation of” any litigation,




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                    In re Fin. Oversight & Mgmt. Bd. for P.R., 386 F. Supp. 3d 175, 187 (D.P.R. 2019)

(holding that an expectation of litigation is insufficient grounds to establish work product

protection); In re Grand Jury Subpoena, 220 F.R.D. 130, 157 (D. Mass. 2004) (“[A]n anticipated

[government agency] investigation would not count” for purposes of determining if materials were

created in anticipation of litigation.).

         Accordingly, any document pre-dating Quanterix’s

           , could not have been created in anticipation of litigation. See §II.C., supra. And even

after that date, any withheld document that pertains, in whole or in part, to Quanterix’s then pre-

existing media strategy and decision to issue the August 27 press release –

                         – were not created in anticipation of litigation. See Mullins v. Dep't of Lab. of

P.R., 269 F.R.D. 172, 176 (D.P.R. 2010) (requiring party to “‘explain why the work product

privilege applies to all portions of the document’”) (quoting Church of Scientology Int'l v. United

States Dep't of Just., 30 F.3d 224, 237 (1st Cir. 1994)).




                                                                                               Thus, any

anticipated litigation based on this email is highly speculative and unsubstantiated.

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         The work product protection, therefore, does not apply for two independent reasons: (i) the

documents at issue were not created for use in litigation; and (ii) Quanterix had no reasonable

anticipation of litigation at the time the materials were created or the documents do not relate to

any litigation matter. The documents must be produced.

         C.         If Further Scrutiny Is Necessary, a Limited In Camera Review is
                    Appropriate
         While Plaintiffs submit that the record strongly supports an order compelling Quanterix to

produce documents over its privilege and work product claims, in the event that the Court believes

additional scrutiny is necessary, in camera review of a representative sample of the documents

would be appropriate. Accordingly, to the extent (if at all) the Court determines additional

information is necessary to resolve this Motion, Plaintiffs respectfully request in camera review

of the following communications: Privilege Log Entry Nos. ML_REV_Quanterix-0000001331;

ML_REV_Quanterix-0000001316; ML_REV_Quanterix-0000001314; ML_REV_Quanterix-

0000001313;             ML_REV_Quanterix-0000001334;            ML_REV_Quanterix-0000001310;

ML_REV_Quanterix-0000001327; ML_REV_Quanterix-0000001332; ML_REV_Quanterix-

0000001305;          ML_REV_Quanterix-0000001296;        ML_REV_Quanterix-0000001320;           and

Quanterix_Cassava_Sec_Litig_0003254, along with any withheld attachments. See Ex. V.

V.       CONCLUSION
         For the foregoing reasons, Plaintiffs respectfully request that the Court grant this Motion

and compel production of the 68 improperly withheld and redacted documents within seven days

of any order, or, in the alternative, conduct an in camera review of a selected subset of the

documents at issue.


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 DATED: February 1, 2024                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on February 1, 2024, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the email addresses on the attached Electronic Mail

Notice List, and I hereby certify that I caused the mailing of the foregoing via the United States

Postal Service to the non-CM/ECF participants indicated on the attached Manual Notice List.

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                               DECLARATION OF SERVICE

         I, Theodore M. Hess-Mahan, not a party to the within action hereby declare that on

February 1, 2024, I caused to be served the foregoing document by email on the parties to the

within action, addressed as follows:

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         I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 1, 2024, at Wellesley Hills, Massachusetts.

                                                         s/ Theodore M. Hess-Mahan
                                                       THEODORE M. HESS-MAHAN

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